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                         Final Report of the “Best Practices” Panel

                                      January 26, 2015

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        On May 29, 2014, Judge Edward M. Chen approved the Consent Decree between the
California Department of Fair Employment and Housing (“DFEH”), the United States of
America and the Law School Admission Council, Inc. (“LSAC”), Case No. CV 12-­‐1830-­‐EMC.
The Consent Decree resolves lawsuits filed by DFEH and the United States of America
alleging that LSAC discriminated against individuals with disabilities who take, or seek to
take, the Law School Admission Test (“LSAT”) with testing accommodations, in violation of
the Americans with Disabilities Act ("ADA"). Among other requirements, the Consent
Decree provides that “LSAC shall implement best practices as established by a panel of
experts to be agreed upon by the parties.” (Consent Decree (ECF 203), ¶ 7). It charges the
panel with examining LSAC’s existing testing accommodation practices and establishing
best practices that comport with the requirements of the ADA. (Id. at ¶ 7(b)-­‐(c)). The
Consent Decree also provides that the “Panel shall complete its written report within six
(6) months after the fifth Panel member has been appointed” but could seek “additional
time if necessary to complete its report.” (Id. at ¶ 7(d)). The fifth Panel member was
appointed on June 25, 2014.

        As required by the Consent Decree, the Panel provided the Parties with an
opportunity to present their views at a meeting held on August 7, 2014. The Panel also set
benchmarks at our meeting held on August 11, 2014. In accordance with those
benchmarks, the Panel requested, and the parties approved, an extension of the submission
of the final written report to January 31, 2015.


1   A Minority Report by Shelby Keiser is attached as a separate document.


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        The Consent Decree states that the Panel shall “give each of the Parties an
opportunity to comment in writing on the Panel’s draft Best Practices at least two (2)
weeks prior to the issuance of a final report.” (Consent Decree, ¶ 7(d)). The Panel shared a
draft report with the Parties on December 12, 2014 and provided them until January 8,
2015 to provide feedback. The Panel revised the report after reviewing comments from
both parties.

       The Consent Decree provides: “The Panel shall determine how many of the five
Panel members must agree on each Best Practice in order for it to be imposed as a Best
Practice.” (Consent Decree, ¶ 7(b)) The Panel agreed to try to attain consensus, where
possible, and, if consensus could not be attained, to seek agreement from at least four Panel
members. All of the recommendations contained in this report under the heading
“Resolution of the Ten Issues by the Best Practices Panel” have been approved by at least
four Panel members and are “Best Practices,” as defined in the Consent Decree. LSAC must
implement each of them.

       The Consent Decree specifies ten issues for the Panel to resolve and states: “the
Panel shall clearly and expressly state in writing whether each Best Practice is already
being followed by LSAC or needs to be implemented by LSAC.” (Consent Decree, ¶ 7(b)).
This Report reflects the Panel’s recommendations with respect to the ten issues that we
were charged to address. For each issue, we first describe LSAC’s current practice. These
descriptions are based on our review of LSAC’s written submission to the Panel, the written
material that they provide to candidates on their website, and the Panel’s interviews with
LSAC staff. In addition, we reviewed information that we gathered from involved parties
and other testing entities. Following our description of LSAC’s current practices, we make
recommendations that, under the terms of the Consent Decree, are binding on LSAC.

       During preparation of this Report, the Panel complied with the Consent Decree’s
requirements regarding ex parte communications. The Consent Decree provides that the
Panel may engage in “ex parte communications” but that “Individual Panel members shall
not engage in any ex parte communications without the knowledge and approval of all
other Panel members.” (Consent Decree, ¶ 7(e)). Finally, the Consent decree provides:
“The Panel shall disclose to the Parties prior to the issuance of its final report all individuals
with whom the Panel or any of its members have communicated, the Panel members
participating in the communication(s), and the date(s) of such communication(s), but it
need not disclose the substance of such communication(s).” (Id.) All Panel members
approved each ex parte communication. The Panel complied with the ex parte
communication recording-­‐keeping requirement. The Panel provided a draft ex parte
communication log to the Parties on January 13, 2015 and revised it in light of the Parties’
corrections. The final ex parte communication log is attached to this document

      The Panel has developed these recommendations with the hope that the
implementation of these recommendations will exceed the lifetime of this Consent Decree.
The Panel respectfully requests that LSAC allows us to meet with the LSAC Board, or a
committee of the Board, to present these Best Practices so that the Board will understand
why the Panel believes that LSAC should immediately implement these recommendations,


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why these recommendations should survive the duration of the Consent Decree, and how
these recommendations can facilitate a climate change within LSAC to be more supportive
of the rights of candidates with disabilities.

                Resolution of the Ten Issues by the Best Practices Panel

1. Diversification. The Panel shall provide LSAC with recommendations on how to
diversify its expert consultants, in terms of numbers and areas of expertise, which
LSAC shall implement.

Current Practice

       LSAC relies on expert consultants on what it describes as a “periodic” basis. In
recent years, it has relied on two outside consultants– one clinical psychologist and one
ophthalmologist.

Panel’s Recommendation

      In response to Issue 3, the Panel has set forth criteria that LSAC shall use to retain
reviewers, including outside consultants.

        In response to Issue 8, the Panel recommends an automatic review by one or two
outside consultants of all applications for testing accommodation requests that are not
approved in full by LSAC. Based on the data provided to the Panel by LSAC, we believe that
LSAC may need to send approximately 300 files to outside consultants if it continues its
current rate of not fully approving testing accommodation requests during each testing
cycle. It appears that the following figures reflect the percentage of applications for testing
accommodations received for the various disability categories: ADHD (32 %), LD (23 %),
neurological (11 %), visual (10 %), physical (10 %), psychological (7 %), hearing (1 %),
and other/medical (6 %), with some candidates having more than one of these physical or
mental impairments.

        In light of the anticipated number of applications for testing accommodations, and
the likely rate of denial for these groups, we recommend that LSAC have a list of 25-­‐40
outside consultants. As a whole, these outside reviewers would have expertise in each of
these areas and would be available to provide a timely review of testing accommodation
requests. In making this recommendation, we reviewed the practices of other testing
entities, which have an equivalent list of outside reviewers. These entities maintain the list
with a designation by each reviewer of his or her various areas of expertise. It is expected,
based on our review of other testing entities’ practices, that many of the reviewers retained
by other testing entities would be well qualified to review many different types of requests
for testing accommodations.

2. Documentation. The Panel shall consider and establish the type and scope of
appropriate documentation that may be requested from candidates whose requests
fall under Paragraphs 5(b)-­‐(d) [of the Consent Decree]. The Panel shall include in its


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consideration the documentation requirements for candidates who have received
some of their requested testing accommodations for a standardized examination
related to applications for post-­‐secondary admission but who request additional
testing accommodations, or in excess of double time, for the LSAT, consistent with
the terms of Paragraph 5(b) [of the Consent Decree].

Current Practice

       LSAC has documentation guidelines for each major disability category on its
website. These guidelines seek to establish that an individual has: (1) been diagnosed with
a mental or physical impairment; (2) is substantially limited, compared to most people, in a
major life activity relevant to taking the LSAT as a result of this physical or mental
impairment; and (3) requires testing accommodations to address his or her specific
functional limitations (with a rationale and objective basis for the testing accommodations
requested).

Panel’s Recommendation

        The Panel believes that LSAC’s documentation requirements are excessive for most
candidates who seek testing accommodations on the LSAT and inconsistent with the
documentation guidelines of other national testing entities. For example, LSAC has lengthy
documentation requirements for candidates who have a learning disability and seek extra
time as an accommodation.2 These documentation requirements specify certain diagnostic
tests that a professional should administer to support a request for testing
accommodations. By contrast, other testing entities, such as ACT, provide general
guidelines, which are consistent with professionally recognized criteria, without specifying
discrete test instruments.3 It is the expectation of the Panel that qualified professionals
who provide documentation consistent with our Best Practices will use such criteria as a
basis for their recommendation. There is no need for the Panel to be specific beyond that
requirement because the qualified professional is typically the person in the best position
to determine which diagnostic instruments are appropriate for a particular individual.

       By lessening the documentation requirements and implementing minimum
standards for granting testing accommodation requests, as stated in response to Issue 5,
LSAC staff can approve requests for testing accommodations on a more streamlined basis.
As discussed below, the Panel recommends that close investigation of a testing
accommodation request need only take place for those candidates who fall into what the
Panel describes as “category 3” (i.e., candidate without a visual impairment who requests
more than 50% extra time, or candidate with a visual impairment who requests more than
100% extra time). This streamlined process is consistent with the ADA’s requirement that
“the question of whether an individual’s impairment is a disability under the ADA should



2   See http://www.lsac.org/docs/default-­‐source/jd-­‐docs/guidelinescognitive-­‐non.pdf.
3   See http://www.act.org/aap/pdf/ACT-­‐Policy-­‐for-­‐Documentation.pdf.


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not demand extensive analysis.”4

        Further, the Panel believes that LSAC’s use of the “compared to most people” rule
has resulted in insufficient attention to the “condition, manner, or duration” under which a
candidate completes a major life activity. Assessing the condition, manner, or duration
under which a major life activity can be performed may include consideration of the
difficulty, effort, or time required to perform a major life activity; pain experienced when
performing a major life activity; the length of time a major life activity can be performed;
and/or the way an impairment affects the operation of a major bodily function. (See 29
C.F.R. § 1630.2(j)(4)(i) and (ii)). As discussed in response to Issue 8, the Panel believes that
it is important for individuals who have average overall reading abilities to be eligible to
receive testing accommodations on the LSAT without excessive documentation
requirements if, for example, the manner in which they read is impaired as compared to
the general population, thus qualifying them for coverage under the ADA as individuals
with a disability.

       The Panel recommends that the required level of documentation shall depend upon
the nature of the request for testing accommodations from the candidate. The Panel has
found that LSAC frequently denies requests for testing accommodations because it
considers documentation to be incomplete. The Panel recommends that LSAC shall
consider a file to be complete if it meets the documentation requirements of at least one of
the categories noted below, although a candidate may seek testing accommodations under
more than one of these categories. LSAC will need to revise its documentation forms to
comply with these recommendations.

       The Panel has divided testing accommodation requests into three categories:5

       (1) candidate has a disability and requests a testing accommodation that does not
           modify the amount of time permitted to respond to the questions in each test
           section, such as permission to bring in food, take stop-­‐the-­‐clock breaks, have
           additional breaks between sections, or take the exam in a quiet area;

       (2) candidate does not have a visual impairment and requests up to 50% extra time,
           or candidate has a visual impairment and requests up to 100% extra time;

       (3) candidate does not have a visual impairment and requests more than 50% extra
           time, or candidate has a visual impairment and requests more than 100% extra
           time.

4 It is also consistent with how other testing entities evaluate requests for testing
accommodations. See, e.g., http://www.act.org/aap/pdf/ACT-­‐
TestAccommodationsChart.pdf.
5 Dividing requests into these kinds of categories based on the nature of the

accommodation requested by the candidate is consistent with the practice of other national
testing entities. See, e.g., http://www.actstudent.org/regist/disab/;
https://www.ets.org/disabilities/test_takers/request_accommodations/.


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Category (1): Candidates should comply with these documentation requirements to
request testing accommodations other than extra time. These requests may be made in
addition to requests for extra time. If the candidate requests extra time then the candidate
must comply with the documentation requirements for categories (2) or (3).

       (a) Examples include, but are not limited to:
           • assignment to a wheelchair-­‐accessible room
           • separate testing room
           • large type test booklet (18 pt.)
           • marking responses in the test booklet
           • permission for food, drink, or medical supplies in the test room
           • extra breaks between sections
           • stop-­‐the-­‐clock breaks within a testing section
           • seating near the front of the room
           • sign language interpreter to sign spoken instructions
           • printed copy of spoken instructions with visual notification of start time,
              remaining, and stop times
           • special equipment or furniture
       (b) Documentation required:
           • evidence of a disability from a qualified professional6 who examined the
              candidate any time after the candidate reached the age of 137, and
           • a statement that provides a reasonable explanation for why the candidate
              needs the testing accommodation to best ensure that the LSAT results
              accurately reflect the aptitude or achievement level of the candidate. The
              candidate may provide this statement. More than one statement may be
              provided in support of the request for testing accommodation.

       The type of acceptable documentation is described in response to Issue 5, Part I.

       (c) If a candidate meets these documentation requirements, which are not intended

6 Throughout this report, our reference to evidence from a “qualified professional” means
that the professional’s report will conform to the standards of his or her profession.
7 The Panel selected age 13 as the cut-­‐off for documentation so that candidates seeking

testing accommodations under this rule are treated comparably to candidates who seek
testing accommodations under Paragraph 5(a) of the Consent Decree. Paragraph 5(a)
candidates are able to receive testing accommodations comparable to what they received
on the ACT or SAT, possibly on the basis of documentation from age 13. This cut-­‐off is also
consistent with the awareness of other testing entities that individuals with longstanding
disabilities need not have more current documentation to justify testing accommodations.
For example, ETS provides that certain basic accommodations, such as time and one-­‐half,
can be obtained with documentation that is older than five years. See
https://www.ets.org/disabilities/documentation/documenting learning disabilities/#basi
c. This footnote’s justification for the age 13 cut-­‐off explains its use throughout this report.


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       to be extensive, and provides a reasonable explanation for why these testing
       accommodations are necessary to best ensure that the LSAT results accurately
       reflect the aptitude or achievement level of the candidate, then LSAC shall approve
       the requested testing accommodations, without requiring the candidate to provide
       additional information.

Category 2: Candidates should comply with these documentation requirements if they do
not have a visual impairment and request up to 50 % extra time, or if they have a visual
impairment, which requires taking the test in an alternative format, and request up to 100
% extra time.8

       (a) Documentation required:
           • evidence of a disability from a qualified professional who examined the
              candidate any time after the candidate reached the age of 13, and
           • a statement that provides a reasonable explanation for why the candidate
              needs the testing accommodation to best ensure that the LSAT results
              accurately reflect the aptitude or achievement level of the candidate. The
              candidate may provide this statement. More than one statement may be
              provided in support of the request for testing accommodation. The
              statement should be supported with appropriate data or other relevant
              information in support of the request.

       The type of acceptable documentation is described in response to Issue 5, Part I.

       (b) If a candidate meets these documentation requirements, which are not intended
          to be extensive, and provides a reasonable explanation for why these testing
          accommodations are necessary to best ensure that the LSAT results accurately
          reflect the aptitude or achievement level of the candidate, then LSAC shall
          approve the requested testing accommodations, without requiring the candidate
          to provide additional information.

Category 3: Candidates should comply with these documentation requirements if they do
not have a visual impairment and request more than 50% extra time, or candidate has a
visual impairment, which requires taking the test in an alternative format, and requests
more than 100% extra time.
        (a) Documentation required:
            • evidence of a disability from a qualified professional who examined the
               candidate any time after the candidate reached the age of 13, and
            • a statement that provides a reasonable explanation for why the candidate
               needs the testing accommodation to best ensure that the LSAT results
               accurately reflect the aptitude or achievement level of the candidate. The


8The expectation that candidates who have a severe visual impairment will need 100 %
extra time to complete the examination is consistent with the practice of other testing
entities. See, e.g., https://www.ets.org/disabilities/test_takers/disability_documentation/.


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              candidate may provide this explanation. More than one statement may be
              provided in support of the request for testing accommodation. The statement
              should explain why more than 50% extra time is necessary so that the
              candidate’s test results accurately reflect his or her aptitude or achievement
              levels. The statement should be supported with appropriate data or other
              relevant information in support of the request.

       The type of acceptable documentation is described in response to Issue 5, Part II,
       Standards for Determining More Than Fifty Percent Extra Time.

       (b) If a candidate meets these documentation requirements, which are not intended
           to be extensive, and provides a reasonable explanation for why these testing
           accommodations are necessary to best ensure that the LSAT results accurately
           reflect the aptitude or achievement level of the candidate, then LSAC shall
           approve the requested testing accommodations, without requiring the candidate
           to provide additional information.

3. Reviewers. The Panel shall consider and establish the appropriate qualifications
for persons, such as LSAC staff and/or outside consultants, who make substantive
adverse decisions on requests for testing accommodations.

Current Practice

       LSAC currently has one staff person who does the preliminary review of all files, and
a second staff person who makes the final determination. The first-­‐level reviewer has a
master-­‐level degree in special education; the final reviewer has a Ph.D. in clinical
psychology. The outside consultants include an ophthalmologist and a clinical
psychologist.

Panel’s Recommendation

General Reviewer Qualifications

        Reviewers shall have a wide range of disability expertise to address the
diverse needs of the test taker population, as described in response to Issue 1. Examples of
professions of potential reviewers include: disability service providers, special education
faculty members, school psychologists, clinical psychologists, medical doctors, learning
disability specialists, and neuropsychologists in private practice. Reviewers should have
racial, cultural, and geographic diversity. Each member shall possess a graduate degree in
a field related to the impairment that is the basis for the accommodation request that is
being reviewed (e.g., clinical psychology, school psychology, special education, speech and
language, ophthalmology, physical impairments) and the following:

       • Knowledge of the provisions of the Americans with Disabilities Act, as amended
         (ADA, 2008)



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        • At least five years of clinical, teaching, or research experience in (a) diagnosis and
          treatment of the relevant disability(ies) in his/her areas of expertise and (b)
          determination of appropriate testing accommodations related to the specific
          functional limitations associated with the type of disability(ies)

        • Knowledge of documentation needed to support a disability in the relevant
          disability area and experience with different testing accommodations to mitigate
          typical limitations

        • Knowledge of a wide variety of test instruments through graduate level
          coursework and job experience relevant to the disability specialty area

        • Familiarity with professionally recognized diagnostic criteria appropriate to his
          or her areas of expertise

        • Knowledge of how the disability may affect functioning in school, work, testing
          situations, and home

 4. Qualified Professionals. The Panel shall determine whether more than one
 qualified professional should review a documented request for testing
 accommodations before LSAC may deny the request in whole or in part.

 Current Practice




 Panel’s Recommendation

        As discussed in response to Issue 8, the Panel recommends that all applications for
 testing accommodations that are not granted in full must be reviewed by one or two
 outside consultants.

 5. Criteria and guidelines for reviewers. The Panel shall consider and establish
 criteria and guidelines for use by persons who review or evaluate testing
 accommodation requests.




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 Current Practice

        In its submission, LSAC stated: “the criteria and guidelines provided to individuals
 who substantively evaluate accommodation requests should be kept general and flexible.”
 Review should be “focused on whether the individual seeking accommodations has a
 functional impairment that causes a substantial limitation in a major life activity relevant to
 taking the LSAT, and, if so, whether the accommodations the candidate requested, and/or
 some other accommodations, would be appropriate to address the candidate’s functional
 impairment(s).”

 Panel’s Recommendation

         In its submission to the Panel, the United States Department of Justice (“DOJ”)
 asserted, and the Panel found, that LSAC provides no guidance to its outside consultants
 who might be hired to assist with a review of a candidate’s file. By contrast, the Panel has
 recommended that LSAC shall have criteria and standards that comply with federal law and
 are consistent with the professional standards for diagnosing and accommodating various
 disabilities.

         The Panel recommends that the granting of testing accommodations be a step-­‐by-­‐
 step process. The first step is to establish that the candidate is an individual with a
 disability under the ADA (2008). Under the relevant ADA Guidance, a testing entity, such as
 LSAC, should accept, without further inquiry, “documentation provided by a qualified
 professional who has made an individualized assessment of a candidate that supports the
 need for the modification, accommodation, or aid requested,” and provide the testing
 accommodation. See 28 C.F.R. pt. 36, app. A, at 795. “Reports from experts who have
 personal familiarity with the candidate should take precedence over those from, for
 example, reviewers for testing agencies, who have never personally met the candidate or
 conducted the requisite assessments for diagnosis and treatment.” Id. at 796.

         Despite this Guidance, LSAC has rejected requests for testing accommodations even
 in cases where there is a clear history of the existence of a disability and the provision of
 prior testing accommodations. The Panel recommends that for individuals with a history of
 diagnosis of a disability, as well as for those more recently diagnosed with a disability, the
 existence of a disability shall be accepted if a qualified professional made the diagnosis and
 the candidate’s documentation meets the recommended standards detailed below. A
 “qualified professional” is a person who is “licensed or otherwise properly credentialed and
 possess[es] expertise in the disability for which modifications or accommodations are
 sought.” 28 C.F.R. pt. 36, app. A, at 784. Those standards require that a failure to have a
 prior diagnosis of a disability shall not be used as a reason to conclude that the candidate
 does not presently have a disability.

       The second step involves the determination of what testing accommodation(s)
 should be provided. Under the relevant ADA regulations, test entities must give


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 “considerable weight to documentation of past [testing accommodations] received in
 similar testing situations.” The Consent Decree provides, and the Panel concludes it is a
 Best Practice, for LSAC to provide the equivalent testing accommodation(s) to an individual
 who has been previously provided such accommodations on a standardized examination,
 such as the ACT or SAT, so long as the individual continues to have a disability.

         The Panel’s review of sample files and interviews with LSAC staff suggests that LSAC
 staff does not give adequate weight to prior testing accommodations received by a
 candidate if the candidate was not previously provided testing accommodations on
 standardized examinations. The Panel recognizes that prior testing accommodations, such
 as extra time on university examinations, may have been in a somewhat different context
 or even for a somewhat different purpose. Nonetheless, the Panel concludes that an
 established history of testing accommodations shall presumptively support the request for
 the provision of similar testing accommodations on the LSAT. It shall be the role of the
 LSAC reviewer(s) to look for evidence that supports the candidate’s request for testing
 accommodations, rather than to look for evidence that denies the candidate’s request. The
 Panel found, based on its review of sample files, that LSAC’s current practices especially
 disadvantage candidates who may have a history of testing accommodations at their
 university but who have not been required to take a nationally standardized examination
 to attain admission to their university.

         Finally, the Panel’s review of sample files and interviews with LSAC staff reveals that
 LSAC sometimes rejects requests for testing accommodations from individuals who do not
 request additional time, but rather request a testing accommodation to support specific
 physical or medical needs. The Panel concludes that, once the candidate documents that he
 or she has a disability and requests a testing accommodation, LSAC shall presumptively
 grant testing accommodation requests that do not involve requests for extended time. For
 example, LSAC should rarely, if ever, second-­‐guess a request by an individual with diabetes
 to have food available while testing; a request by an individual with ADHD for a quiet
 testing environment, extra breaks or stop-­‐the-­‐clock breaks; a request by an individual with
 irritable bowel disease to have stop-­‐the-­‐clock breaks to use the restroom; or a request by
 an individual with a writing impairment or visual impairment to have a large-­‐print test
 book or record answers directly on the exam instead of using a Scantron answer sheet.

         In the materials that follow, the Panel sets forth Best Practices for the two-­‐step
 process. First, we provide criteria for establishing whether or not a candidate has a
 disability (“Part I” below). Second, we provide criteria for determining whether LSAC
 should approve the candidate’s request for testing accommodations (“Part II” below). To
 facilitate this review, we have placed the candidate’s request into various, appropriate
 categories.

        All reviewers shall begin the process with the presumption that the testing
 accommodation request is justified. In cases where a reviewer does not approve all of a
 candidate’s requests for testing accommodations, the reviewer must provide a specific
 written explanation in support of that determination. In cases where the reviewer
 concludes there is a lack of documentation, the reviewer shall provide a clear statement of


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 what additional documentation is necessary so that the request for testing accommodation
 could be considered in the future. In addition, reviewers shall use criteria related to
 specific disabilities when determining testing accommodations. Nothing in these criteria or
 standards prevents the reviewer from using his or her professional judgment, but these
 decisions must be clearly explained in detail.

        The following is a roadmap for the two-­‐step process that reviewers must use in
 evaluating requests for testing accommodations.

                        PART I: Does the candidate have a disability?

        1. Does the candidate have a record of a disability?

               a. Because deference should be given to the documentation from qualified
                  professionals who have previously examined the candidate, adequate
                  documentation of a disability, any time after the candidate reached the age
                  of 13, shall include, but is not limited, to:

                      i. Documentation of disability in previous Individualized Education
                         Program (IEP).9 It is the recommendation of the Panel that
                         candidates previously found to have a disability under the IDEA by
                         their school district will be found to have a disability. A failure to
                         use particular technical terms, such as dyslexia or ADHD, is not a
                         reason to conclude there is no documentation of a disability when
                         the documentation reflects the candidate has a history of a
                         disability and the use of testing accommodations.

                      ii. Documentation of disability in previous Section 504 Plan.10 It is the
                          recommendation of the Panel that candidates found to have a
                          disability under Section 504 by their school district or university
                          will be found to have a disability.

                      iii. Documentation of disability in previous Summary of Performance.
                          It is the recommendation of the Panel that candidates with a
                          Summary of Performance pursuant to IDEA will be found to have a
                          disability.

                      iv. Documentation of disability in previous Private School Formal
                         Written Plan. Because the Private School concluded a testing
                         accommodation is appropriate, it is the recommendation of the


 9 An IEP describes the special education and related aids and services provided under the
 Individuals with Disabilities Education Act (IDEA).
 10 A Section 504 Plan specifies needed classroom accommodations and related aids

 provided pursuant to Section 504 of the Rehabilitation Act of 1973.


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                        Panel that candidates with a Private School Formal Written Plan
                        will be found to have a disability.

                     v. Documentation of disability in an outside, private evaluation from a
                        Qualified Professional. Because more weight should be given to the
                        views of a qualified professional who has examined the candidate
                        than to the views of the LSAC reviewer, it is the recommendation of
                        the Panel that candidates with such documentation will be found to
                        have a disability.

                     vi. Documentation of disability from a Medical Doctor Evaluation or
                        Letter from a Qualified Professional. Because more weight should
                        be given to the views of a qualified professional who has examined
                        the candidate than to the views of the LSAC reviewer, it is the
                        recommendation of the Panel that candidates with such
                        documentation will be found to have a disability.

              b. If the candidate has a record of a disability, as provided above, then the
                 candidate will be considered to have a disability so long as the candidate
                 certifies that he or she continues to have a disability.

       2. Does the candidate have a disability although the candidate does not have a
       record of a disability?

              a. In making this determination, it is appropriate to consider the condition,
                  manner or duration under which an individual performs a major life
                  activity. For example, someone with a learning disability may achieve a
                  high level of academic success, but may, nevertheless, be substantially
                  limited in one or more of the major life activities of reading, writing,
                  speaking, or learning because of the additional time or effort he or she
                  must spend to read, speak, write, or learn compared to most people in the
                  general population. As Congress emphasized in passing the ADA
                  Amendments Act, “[w]hen considering the condition, manner, or duration
                  in which an individual with a specific learning disability performs a major
                  life activity, it is critical to reject the assumption that an individual who
                  has performed well academically cannot be substantially limited in
                  activities such as learning, reading, writing, thinking, or speaking.” 154
                  Cong. Rec. S8842 (daily ed. Sept. 16, 2008) (Statement of the Managers).
                  Thus, an individual may receive average scores on a reading test, but his
                  or her history may reveal special education placement in first grade and
                  several years of individualized tutoring. Even as an adult, the individual
                  may have trouble reading for long periods of time and the act of reading
                  may still be difficult and effortful for this person as compared to most
                  people. It is the recommendation of the Panel that such a person be
                  considered to have a disability and be granted testing accommodations on
                  the LSAT.


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             b. Evidence of a disability may include, but is not limited to:

                    i. A qualified professional has provided documentation that the
                       candidate has a disability, which restricts the candidate’s ability to
                       demonstrate his or her aptitude or achievement on all or part of
                       the LSAT. Such documentation, when appropriate, may include:
                       standardized test data from appropriate evaluation instruments; a
                       comprehensive evaluation; a relevant history; or a personal
                       statement describing the individual’s disability, impairment, areas
                       of limitation, effects on test taking and testing accommodation
                       needs.

                    ii. A qualified professional has provided documentation that an
                        individual has a temporary disability, such as a broken bone in the
                        candidate’s dominant writing hand or herniated disk, which
                        restricts the candidate’s ability to demonstrate his or her aptitude
                        or achievement on all or part of the exam.

             c. Reviewers shall not presume that a candidate does not have a disability
                when there is no history of a disability or record of use of testing
                accommodations. A variety of factors can delay the identification of a
                disability, such as:

                    • Attendance in an educational setting with few to no timed tests that
                      lessens the impact and the noticeable signs of the disability
                    • Receipt of informal testing accommodations provided by teachers
                    • Attendance in a private school with small class size that lessens the
                      impact and the noticeable signs of the disability
                    • Attendance in a private school that does not provide testing
                      accommodations or services to individuals with disabilities
                    • Participation in an online school with alternate assessment formats
                      such as oral tests or take-­‐home exams that ameliorate the impact
                      and lessen the noticeable signs of the disability.
                    • An older student with history of academic difficulty, undiagnosed
                      until later in life
                    • History of home-­‐schooling
                    • History of receiving intensive tutoring outside of an educational
                      setting
                    • Reluctance to disclose evidence of disability for fear of stigma or
                      discrimination
                    • Attendance in a non-­‐United States educational setting where
                      standardized testing did not take place
                    • Attendance in an educational setting where there are no systems in
                      place to help families seek appropriate evaluations


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       3. The documentation necessary to demonstrate disability “should not demand
          extensive analysis.” 29 C.F.R. § 1630.2(k)(2). “The primary object of attention in
          cases brought under the ADA should be whether covered entities have complied
          with their obligations and whether discrimination has occurred, not whether an
          individual’s impairment substantially limits a major life activity.” 29 C.F.R.
          §1630.2(j)(1)(iii).

                PART 2: What Testing Accommodation(s) are Appropriate?

         LSAC staff shall engage in cooperative and interactive communication with
 candidates concerning any modifications or specific arrangements needed for the provision
 of testing accommodations.

       1. Does the candidate have a record of receiving testing accommodations
          comparable to those sought for the LSAT?

              a. Considerable weight must be given to “past accommodations,
                 modifications or auxiliary aids or services.” 28 CFR § 36.309(b)(1)(v).
                 Such evidence may include, but is not limited to, a record of:

                     i. K-­‐12 formal testing accommodations
                     ii. K-­‐12 informal testing accommodations
                     iii. Postsecondary formal testing accommodations
                     iv. Postsecondary informal testing accommodations
                     v. Attendance at a specialized school that provided such testing
                         accommodations to all students
                     vi. Similar testing accommodations provided on previous
                         standardized or other examinations
                     vii. Similar testing accommodations provided through a previous IEP,
                         Section 504 Plan, Summary of Performance, Private School Formal
                         Written Plan, or any other relevant document

              b. If the above evidence exists, then the candidate shall be provided testing
                  accommodations comparable to those provided previously unless the
                  candidate is seeking more than 50% extra time. If the candidate is seeking
                  more than 50% extra time and does not have a visual impairment then the
                  candidate must provide the documentation provided in Issue 5, Part II,
                  Standards for Determining More Than Fifty Percent Extra Time.

              c. Even though a candidate does not have a formal history of receiving
                 testing accommodations, this fact alone does not negate the candidate’s
                 present need for testing accommodation(s). An individual with a
                 disability may not have a prior history of formal testing accommodations,
                 even though testing accommodations are currently appropriate.



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       2. Does the candidate have proper documentation to support a current testing
          accommodation even if the candidate has not previously received testing
          accommodations?

             a. The candidate should provide documentation to justify each requested
                testing accommodation but the burden on the candidate shall be no higher
                than would have been placed on the candidate if he or she had sought such
                testing accommodations earlier in his or her educational career.

             b. Such documentation must include a report from a qualified professional in
                support of the disability diagnosis.

             c. The candidate, a qualified professional, or a teacher must provide a
                reasonable explanation for each testing accommodation as it relates to the
                candidate’s disability.

             d. Where the candidate, qualified professional, or teacher recommends the
                provision of extra time, there is a clear explanation of why a specific
                amount of time is requested. The extra time request, that is appropriately
                documented, shall be granted by the reviewer without additional
                documentation requirements unless the candidate is seeking more than
                50% extra time and does not have a visual impairment.

             e. An LSAC reviewer shall not deny a testing accommodation merely because
                it appears to be redundant, such as a request for both text to speech and a
                reader, so long as the candidate provides a reasonable explanation for the
                need for the requested testing accommodations.

       3. Minimum Standards for Various Disabilities

             a. Although testing accommodations should be determined on an individual
                basis, it is also appropriate for LSAC to consider fairness to similarly-­‐
                situated candidates in determining the amount of extra time to provide to
                individuals with certain, high-­‐incidence disabilities. We have provided
                minimum standards that LSAC shall use when determining if a request for
                a testing accommodation is appropriate. Candidates may seek additional
                time, beyond these minimum standards, by meeting the additional
                documentation described in Issue 5, Part II, Standards for Determining
                More Than Fifty Percent Extra Time. A candidate with multiple
                disabilities need only meet the documentation requirements for one
                disability in order to qualify for the minimum standards.

             b. The minimum standards include:

                    i. Learning Disabilities. It is the Panel’s recommendation that
                        individuals with documented learning disabilities shall be given a


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                      minimum of 50% additional time. Candidates seeking more than
                      50% extra time must comply with the documentation
                      requirements specified in Issue 5, Part II, Standards for
                      Determining More Than Fifty Percent Extra Time. Candidates
                      granted 100% or more time shall be granted permission to take the
                      test over two days, if requested.

                   ii. ADHD. It is the Panel’s recommendation that individuals with an
                       established diagnosis of ADHD shall be given a minimum of 50%
                       additional time. Candidates seeking more than 50 % extra time
                       must comply with the documentation requirements specified in
                       Standards for Determining More Than Fifty Percent Extra Time.
                       Candidates granted 100% or more extra time shall be granted
                       permission to take the test over two days, if requested. Additional
                       breaks shall also be recommended based on past testing
                       accommodations. Candidates may request off-­‐the-­‐clock breaks,
                       during which time is stopped and restarted when they are able to
                       proceed, as full or partial alternatives to extra time. One minute
                       shall be added to the overall time for each break to account for the
                       disruptive effects of such breaks.

                   iii. Psychiatric Disorders. It is the Panel’s recommendation that
                       individuals with an established diagnosis of major psychiatric
                       disorders shall be given a minimum of 50% additional time, and
                       extra breaks, as requested. Candidates seeking more than 50%
                       extra time must comply with the documentation requirements
                       specified in Issue 5, Part II, Standards for Determining More Than
                       Fifty Percent Extra Time. Candidates granted 100% or more time
                       shall be granted permission to take the test over two days, if
                       requested. Such individuals may request the use of stop-­‐the-­‐clock
                       breaks during the testing period while time is stopped and
                       restarted when they are able to proceed. One minute shall be
                       added to the overall time for each break to account for the
                       disruptive effects of such breaks.

                   iv. Visual Impairments. Individuals who are diagnosed as blind or
                      with severe visual impairments, which preclude them from reading
                      standard-­‐sized print, shall be allowed to use the testing
                      accommodations that they document they have used in the past.
                      Candidates using a reader, computer reader (text-­‐to-­‐speech),
                      braille or other similar alternatives shall be granted 100% extra
                      time. Candidates requesting more than 100% time must have clear
                      documentation for time above this amount. Individuals granted
                      100% or more time shall be granted permission to take the test
                      over two days, if requested. Additional breaks shall be granted,
                      upon request, due to the length of each testing session.


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                     v. Pain-­‐Related Conditions and Chronic Medical Disorders (e.g.,
                        diabetes, seizures, fibromyalgia, gastrointestinal disorders,
                        arthritis, back disorders which prevent sitting or standing for long
                        periods). For those individuals with documentation of substantial
                        medical issues that prevent them from focusing on the test for
                        continuous periods of time (for example, an individual with Crohn’s
                        Disease may need unscheduled bathroom breaks) such individuals
                        may request the use of stop-­‐the-­‐clock breaks during the testing
                        period in which they request that time be stopped and restarted
                        when they are able to proceed. One minute shall be added to the
                        overall time for each such break to account for the disruptive
                        effects of such breaks. If the disorder also results in cognitive
                        impairment, such as changes to memory or attention when the
                        individual is not having acute issues, the individual shall also be
                        considered for 50% additional time. Candidates requesting more
                        than 50% time must have documentation for time above this
                        amount, as provided in Issue 5, Part II, Standards for Determining
                        More Than Fifty Percent Extra Time, but may not use the impact of
                        such factors as going to the bathroom which is already covered by
                        the time-­‐stopping procedure. These individuals may also request
                        permission to use special chairs or devices. LSAC shall grant these
                        types of requests on a routine basis.

                     vi. Writing Disorders. LSAC shall approve requests for the use of a
                        computer, and spell check, for any individual with the history of
                        using such assistive devices in school or work settings, as well as
                        for any individuals with more recent injuries or impairments
                        where writing would be difficult or slow. Individuals with a history
                        of additional time shall receive 50% additional time, as shall
                        individuals without such a history where a reasonable explanation
                        exists.

 Standards for Determining More Than Fifty Percent Extra Time

         It is the Panel’s opinion that 50% additional time is a reasonable amount of
 additional time in most cases. However, some individuals have exceptional needs that
 justify the request for a testing accommodation of more than 50% additional time. In such
 situations, the qualified professional should provide a rationale based on history and
 objective evidence for the request for more than 50% extra time. The rationale must be
 reasonable and understandable to the reviewer(s) with appropriate expertise. Examples of
 appropriate justifications include, but are not limited to:

       1. On any past standardized test, the candidate was provided with more than 50%
          extra time. For all disorders, where more than 50% extra time can be shown to
          have been granted as a consistent testing accommodation, and was approved by


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         an appropriate professional, more than 50% extra time shall be provided,
         consistent with prior practice.
       2. The qualified professional provides documentation with a reasonable
          explanation that supports the need for more than 50% extra time. In cases where
          no history of equivalent extended time on past standardized test scores is
          available, such as in the cases of individuals from another country, a person with
          a temporary or recent disability, or a person with a recent diagnosis, judgment of
          the need for additional time must be made based upon the documentation
          presented by the professional. The discussion would include the rationale for the
          need for additional time, and further explanation of the severity of the
          disorder(s), including relevant information such as co-­‐morbidity with other
          disorders. In rendering a decision, the reviewer shall give substantial weight to
          the recommendation of the qualified professional.
       3. The qualified professional provides documentation containing a reasonable
          explanation that supports the need for extra time on certain sections of the test,
          but not others. For example, for individuals with visual impairments who
          routinely are granted 100% extra time, 150% extra time shall be allowed on the
          analytical reasoning section of the LSAT exam because of its reliance on visual-­‐
          spatial abilities. Another example would be for individuals with learning
          disabilities that specifically impact math reasoning or problem solving. These
          individuals may warrant 50% extended time on most parts of the LSAT, but
          100% time on the analytical reasoning section. If it is impossible because of
          administration constraints to provide variable time on different sections, LSAC
          shall grant the individual extended time on all sections of the test, consistent with
          the recommendation for the longest requested extra time on one section of the
          test.
       4. The provision of more than 50% extra time shall be approved if a postsecondary
          disability service provider provides a signed statement indicating that a
          candidate was provided with more than 50% additional time on college
          examinations. In such instances, the candidate shall then be granted the same
          amount of additional time provided on college exams.
       5. The provision of more than 50% extra time shall be given to an individual who,
          because of documented health or sensory impairments or psychiatric disorders,
          warrants such time to demonstrate his or her achievement or aptitude. For
          example, a person with depression or anxiety may have impaired working
          memory or processing speed that would normally be accommodated with 50%
          extended time. However, that person may also have dysgraphia (fine-­‐motor
          deficiencies) and/or executive deficits related to a separate psychiatric disorder
          or ADHD. Given the concurrent diagnoses and functional limitations, more than
          50% extra time shall be granted.
       6. As long as sufficient evidence is presented, LSAC shall grant the candidate more
          than 50% extra time. It is further recommended that LSAC does not attempt to
          alter the request for an extended time testing accommodation, such as suggesting


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           75% additional time for an individual who has requested double-­‐time (100%
           time extension). Because there is no precise or accurate way to determine the
           exact amount of time needed by an individual, LSAC shall give preference to the
           recommendation of the qualified professional who provides documentation and a
           reasonable explanation of the need for the time extension.
        7. A reviewer may use clinical judgment to support a candidate’s request for
           extended time. For example, in cases where the candidate’s past test scores are
           inconsistent with his or her cognitive abilities and prior educational
           achievements, extended time may be warranted.
        8. In cases where the request is clearly justified by the qualified professional and
           previous LSAT test performance, if available, reviewers may recommend triple or
           quadruple time, although this testing accommodation request would only be
           granted in rare cases.
        9. In cases where the request is for a 100% time extension or greater and a
           reasonable explanation is provided, the test shall be administered over two
           consecutive days, if the candidate requests that testing accommodation.
  6. Written recommendations from reviewers. The Panel shall consider whether
 there should be particular parameters for written recommendations from any
 outside consultant who reviews or evaluates requests for testing accommodations
 and, if so, what those parameters should be. The Panel shall also consider whether
 there should be particular parameters for internally documenting written decisions
 by LSAC personnel who make substantive decisions on requests for testing
 accommodations and, if so, what those parameters should be.
 Current Practice
       At this time, LSAC has no requirements for written recommendations from
 reviewers.
 Panel’s Recommendation
         As discussed in response to Issue 8, the Panel recommends that both in-­‐house staff
 and outside consultants shall be required to follow certain guidelines in writing reports to
 justify their recommendations if they recommend that LSAC not approve in full a testing
 accommodation request.
 7. Written explanations for denials of testing accommodation requests. The Panel
 shall consider whether there should be particular parameters for written
 explanations provided by LSAC to candidates whose requests for testing
 accommodations are partially or fully denied and, if so, what those parameters
 should be.
 Current Practice
        LSAC stated in its submission to the panel that its “current practice [is] to provide a
 descriptive response to individuals whose requests for testing accommodations are denied.


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 If it appears that more information could be provided to support the request, LSAC will
 generally identify to the candidate the type of information that might be helpful.”

 Panel’s Recommendation
        As discussed in response to Issue 8, the Panel recommends that in-­‐house staff and
 outside consultants shall prepare a clear written explanation to support their decision
 regarding testing accommodations requests. In cases where the candidates’ requests for
 testing accommodations are not approved in full, the candidates shall be informed, in
 writing, why each of their requests for testing accommodations are not approved in full11,
 and what additional information, if any, could lead LSAC to approve their requests in the
 future. An explanation of the appeals process (described in response to Issue 9) shall be
 included in all correspondence to candidates whose requests for testing accommodations
 are not approved in full.
 8. Automatic review of partial and full denials. The Panel shall consider whether an
 automatic review of partial and/or full denials is warranted and, if warranted, how
 such a review should be conducted.

 Current Practice

        According to the written submission provided to the Panel by LSAC:

        [I]t is LSAC's current practice to have at least its two internal professionals
        review a request before a request is denied in full. LSAC does not believe that any
        other "automatic" review should be necessary. Again, interests of efficiency,
        timeliness, and consistency favor having a smaller, but dedicated, team of
        individuals reviewing accommodation requests.




 11The phrase “not approved in full” is intended to include situations where LSAC denies a
 testing accommodation request due to a lack of documentation. Such denials will be
 subject to the outside consultant review rules.


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           accommodation in full, or write a clear rationale explaining the decision not to
           approve a testing accommodation request in full.
       •   If the Manager of Accommodated Testing approves the full request for testing
           accommodations then the written summaries based on the checklist of decision-­‐
           making criteria produced by the LSAC staff shall be retained in LSAC’s records to
           be reviewed in the future for consistency or training purposes.
       •   If the Manager of Accommodated Testing reverses the Disabilities Specialist in
           more than 25% of requests for testing accommodations in a given testing cycle,
           then an additional training obligation shall be implemented for the Disabilities
           Specialist, as discussed in “Best Practice” 10 below.
       •   The Manager of Accommodated Testing shall make a decision to approve or deny
           requested testing accommodations within 4 working days of LSAC staff
           designating a file as being “complete.”
       •   If the Manager of Accommodated Testing approves a requested testing
           accommodation in full, then the candidate shall receive a communication within
           one business day stating that his or her testing accommodation request has been
           approved in full.
       •   If the Manager of Accommodated Testing does not approve in full each of the
           candidate’s requests for testing accommodations, then the consideration process
           shall continue with the use of one or two outside consultants.
       •   The file shall be transmitted to one or two outside consultants, selected by LSAC
           from a list of experts who meet the qualifications stated earlier in this report
           under Issue 3 and whose expertise is appropriate to the case, depending on the
           conclusion of the first consultant as discussed below. The file that is transmitted
           to the outside consultant(s) shall include all the written summaries prepared by
           LSAC staff to justify their decision.
       •   When a review is scheduled, one outside consultant will be immediately
           contacted to indicate to him or her that a file is to be reviewed. He or she will be
           requested to review that file within 2 working days. If the consultant indicates
           that he or she cannot meet that deadline (or fails to respond within one business
           day), then LSAC staff will contact the next person on the list until one is found
           who can review the file within 2 working days.
       •   The outside consultant will have the choices of:
                o agreeing with the candidate’s request in full (reversing the decision of
                   LSAC not to approve the request in full),
                o agreeing with the LSAC decision not to approve in full the candidate’s
                   request for testing accommodations,
                o or suggesting a partial approval. Such a partial approval may not include
                   rejection of testing accommodations that the LSAC’s Manager of
                   Accommodated Testing has already approved, but it may provide further
                   approval of additional time or longer breaks, as requested by the
                   candidate.
       •   The outside consultant will provide a justification of his or her decision in
           writing.
       •   In cases where the outside consultant agrees in full with the position of the


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           candidate, then the candidate’s requests will be identified as approved in full.
           The outside consultant’s determination will become the final determination of
           LSAC for that candidate’s request for testing accommodation. The candidate will
           be notified within one business day that his or her request for testing
           accommodation has been approved in full.
       •   If the outside consultant does not approve the original request in full, a second
           reviewer will be selected and proceed as above. The second reviewer will have
           all the original documentation, LSAC written summaries, and the written
           summary from the first reviewer.
       •   The second reviewer will have the choices of:
                o approving the original request,
                o accepting the partial approval suggested by the first reviewer, where
                   applicable, or
                o supporting LSAC’s initial stance where the first reviewer also accepted
                   LSAC’s initial stance
       •   The second outside consultant will provide a justification of his or her decision in
           writing.
       •   Where a second outside consultant is used as part of the determination process,
           the decision by the second outside consultant is the final decision on the request
           for testing accommodation.
       •   If the second outside consultant recommends approval of the candidate’s testing
           accommodation request, in full, then that decision shall be transmitted to the
           candidate within one business day.
       •   If the candidate’s request for testing accommodation is not approved in full after
           review by the two outside consultants, LSAC will transmit a decision letter within
           one business day to the candidate that explains the rationale for the decision
           based upon the documentation provided by the candidate. The letter will
           address those aspects of the documentation and request for testing
           accommodations that contributed to the decision. Quoted statements from the
           written summaries and checklist indicators shall form the content of these
           letters. In this manner, the process will be a transparent and objective one that is
           communicated to the candidate. The letter shall also include clear suggestions,
           with examples, for any additional information that might be helpful in the appeal
           process. Additionally, an explanation of the appeals process (described in
           response to Issue 9) shall be included in all correspondence to candidates whose
           requests for testing accommodation were not approved in full.

 9. Timely/streamlined appeals process. “The panel shall consider whether there
 should be a process available, beyond that already provided by LSAC, to candidates
 who wish to seek review of LSAC’s decision to deny a candidate’s request and, if so,
 what that process should be relative to LSAC’s existing registration deadlines.”

 Current Practice

       According to the submission provided to the Panel by LSAC:


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        On prior occasions, LSAC has considered whether it could add an “appeal”
        procedure to its accommodation review process. The practical impediment is
        that many candidates wait until very close to the registration deadline to submit
        their requests for testing accommodations. There simply is not enough time for
        LSAC to process these requests in the ordinary course, and then allow a full
        “appeal” process, prior to test administration. Unfortunately, because of DOJ
        interpretive guidance, testing entities cannot require testing accommodation
        requests to be submitted in advance of the standard registration deadlines, so as
        to provide a separate block of time specifically for handling requests and
        allowing an appeal process.

        Although the relevant title of the ADA (Title III) does not require an appeals
        process, LSAC has a reconsideration process in place that essentially operates as
        an appeals process. Candidates can appeal for any reason -­‐ including a belief that
        LSAC simply made the wrong decision. In many instances, LSAC responds to such
        requests by sending the file out for external review, based upon the facts in a given
        case. LSAC believes that this approach is reasonable and constitutes a “best
        practice.”

         In our interview with LSAC staff, we learned that LSAC does not have what would
 traditionally be considered an “appeals process.” LSAC uses internal staff, and, on
 occasion, two outside consultants, to reconsider its decision. A genuine appeals process
 does not exist whereby a neutral third party reviews LSAC recommendations using a
 designated, transparent appeals process. In addition, the discretionary practice of using
 outside consultants of LSAC’s own choosing does not constitute an “appeals process.”

         LSAC’s current practice is to inform a candidate who wants further reconsideration
 after the regular registration period that the time to supplement the file has elapsed, and
 no decision can be made for that testing cycle.


 Panel’s Recommendation

        •   The Panel recommends that the candidate shall be able to submit an appeal up
            to twelve days before the actual administration of the exam and, depending on
            the request, could even be continued further. As examples, a request to reverse
            denial of extended time could be decided within days of the test as could a
            request from someone with a temporary disability, such as a broken dominant
            hand, to word process the exam or use a scribe.

        •   When a candidate is notified that his or her request for testing accommodation
            has not been approved in full, the candidate shall receive within one business
            day a comprehensive decision letter explaining the rationale for the denial
            using language described in the internal and consultant written summaries as
            described above. The candidate will then be provided at least four days to
            submit an appeal. More than four days can be provided to the candidate to


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           provide an appeal if that appeal can be received within twelve days before the
           scheduled test date.

       •   If the candidate desires more than four days to transmit an appeal, and those
           additional days would cause the file to be received less than twelve days before
           the scheduled test date, then the candidate can request that his or her
           application for testing accommodations be rolled-­‐over to the next LSAC testing
           cycle with no additional cost.

       •   The candidate will have at least 24 hours after receiving notification of a partial
           or full denial of a testing accommodation request to indicate if the candidate
           desires to appeal. (More than 24 hours can be provided in cases where the
           candidate had filed the original request for testing accommodation before the
           registration deadline.)

       •   As soon as the candidate indicates that he or she will be submitting an appeal,
           LSAC shall contact two outside appeals consultants (using the process
           described above) to ensure their availability in the event that the appeals
           process is invoked. These reviewers will be notified that they will have only one
           day (i.e., 24 hours) to respond to the appeal request once it is received.

       •   When LSAC receives an appeal from the candidate, then LSAC has 24 hours to
           decide to grant the candidate’s request for testing accommodations without
           invoking the appeals process. If LSAC chooses to grant the request for testing
           accommodation after receiving the appeal, then the candidate shall be informed
           of that decision within one business day.

       •   If LSAC chooses not to grant the candidate’s request in full, then the appeals
           process will commence within 24 hours through the use of the two outside
           appeals consultants.

       •   The appeal submitted by the candidate will then be processed by the outside
           appeals consultants, as described in Issue 8, but the outside appeals consultants
           will agree to respond within one day from transmission of the file.

       •   The result of the appeal shall be provided to the candidate within one week of
           the submission of the appeal. LSAC will never refuse to provide the results of
           an appeal (or a full consideration) because there is insufficient time to
           implement the requested testing accommodation for that examination cycle,
           unless the candidate indicates that he or she would like to terminate the testing
           accommodation request.

       •   An appeal, will be rendered for candidates by the following sample dates,
           assuming the file was complete by the regular registration deadline:

              o Sample June 9, 2014 testing scenario (using consideration and appeal
                process, as described above):



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                   !   Tuesday, May 6, 2014: regular registration deadline

                   !   Thursday, May 8, 2014: recommendation by first-­‐level reviewer,
                       the Disabilities Specialist.

                   !   Monday, May 12, 2014: review of that decision by the Manager of
                       Accommodated Testing. The Manager of Accommodated Testing
                       will provide an explanation in writing in support of his or her
                       decision not to approve a testing accommodation request in full.

                   !   If the Manager of Accommodated Testing accepts the candidate’s
                       request for testing accommodations in full, then the candidate
                       will be notified of that approval on Tuesday, May 13, 2014.

                   !   If the Manager of Accommodated Testing does not approve the
                       candidate’s requests for accommoation in full then the
                       consideration process continues.

                          •   Wednesday, May 14, 2014: consideration of denial
                              complete by first outside consultant.

                                 o If that determination is an approval of the testing
                                   accommodation, then file is approved. The
                                   candidate is notified of approval by Thursday, May
                                   15, 2014.

                                 o If that determination is not to approve a
                                   candidate’s request for testing accommodation in
                                   full then the file is reviewed by a second outside
                                   consultant who will render a decision by Friday,
                                   May 16, 2014.

                                 o If the second outside consultant concludes that the
                                   candidate should receive the testing
                                   accommodation(s) requested, then the candidate
                                   will be notified on Monday, May 19, 2014 that
                                   request has been approved in full.

                                 o If the second outside consultant does not approve
                                   the candidate’s request for an accommodation in
                                   full then the candidate will be provided an
                                   explanation of that decision by Monday, May 19,
                                   2014, and informed of his or her right to appeal the
                                   decision.

                                 o The candidate will be asked to indicate within 24
                                   hours (Tuesday, May 20, 2014) whether he or she
                                   intends to appeal the denial. If the candidate states


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                                  that he or she intends to appeal, LSAC will
                                  immediately secure two different outside
                                  consultants with expertise in the disability area to
                                  review the appeal.

                               o The candidate will be provided four days, until
                                 Friday, May 23, 2014, to transmit an appeal of the
                                 decision. In their appeal, the candidate may
                                 request a different testing accommodation than
                                 requested in his or her original request for testing
                                 accommodations.

                               o Upon receipt of the appeal, LSAC will either
                                 approve the requested testing accommodation(s)
                                 in full within 24 hours (May 24, 2014) or, within a
                                 further 24 hours (by Sunday, May 25, 2014) after
                                 review of first appeal outside consultant who had
                                 been selected, as described above. That individual
                                 will have 24 hours (until Monday, May 26, 2014)
                                 to make a determination about the appeal.

                               o The first outside appeals consultant may:

                                      !   Approve the candidate’s testing
                                          accommodation request, as stated in appeal,
                                          in full.

                                      !   Grant a partial request of testing
                                          accommodations sought by the candidate,
                                          not to be less than LSAC’s original
                                          determination, or

                                      !   Concur with LSAC’s initial determination.

                               o If the outside appeals consultant does not approve
                                 the candidate’s testing accommodation request in
                                 full then LSAC will transmit the appeal to a second
                                 outside consultant, who was already selected, as
                                 described above.

                               o The second outside appeal consultant will make a
                                 determination within 24 hours (Tuesday, May 27,
                                 2014) and will choose between the
                                 recommendation of the first outside appeals
                                 consultant and the candidate’s request.

                               o LSAC will communicate with the candidate by
                                 Wednesday, May 28, 2014 to provide final decision.


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                                   o LSAC will implement the testing accommodation
                                     determination by June 9, 2014.

 10. Training. The Panel shall consider and establish the parameters, such as content
 and timing of, training for persons (both LSAC staff and outside consultants) who
 evaluate or review testing accommodation requests.

 Current Practice

       According to the submission provided to the Panel by LSAC:

       For outside consultants, it is LSAC's position that annual training would be
       reasonable and a "best practice." The training could cover any changes in LSAC's
       policies or practices, answer frequently asked questions, and provide a question
       and answer session among the outside consultants, LSAC's Manager of
       Accommodated Testing, and LSAC's general counsel.

       For LSAC staff, annual in-­‐person training would likewise be reasonable, in terms
       of a formal, structured training session. No such formal in-­‐house training
       currently occurs. The training could be conducted by LSAC's general counsel,
       potentially in conjunction with outside counsel and/or an outside consultant, and
       could cover any changes in LSAC's policies and practices. This would also allow
       LSAC staff to raise questions or address frequently occurring issues.

       As a practical matter, because of the small size of LSAC's Accommodated Testing
       staff, "training" happens informally on an almost-­‐daily basis, through frequent
       interactions among staff. In addition, LSAC staff routinely attend continuing-­‐
       education sessions at external meetings and conferences. In this light, more
       frequent "formal" training does not appear necessary, beyond adding an annual
       formal training session as discussed above.

 Panel’s Recommendation

       • LSAC staff and all outside consultants shall attend an annual two-­‐day training
         session that includes presentations by experts in the field who have knowledge
         and training in testing accommodation issues and experience conducting
         training for other testing agencies such as the ACT, ETS, or College Board.
         During the Consent Decree, at least one member of the Panel appointed by DOJ
         and one member of the Panel appointed by LSAC, who has approved all of the
         recommendations of the Panel, shall participate in this training session.

       • Training would include how to evaluate requests for testing accommodations
         based on: a stated presence of disability, history of provision of testing
         accommodation or rationale for lack of testing accommodation use, rationale for
         late diagnosis if appropriate, candidate’s self statement, and recommendations


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         of the evaluator or previous disability service providers or teachers. An
         opportunity to receive feedback will be provided. Training will include review
         of mock cases in order to become familiar with the Panel’s recommendations for
         practice. Trainings would also include a summary of the legal landscape by one
         of the attorneys recognized in the field for litigating cases on testing
         accommodations on national admissions, professional, and/or licensing exams.

       • Training shall meet the following minimum objectives:
              o to educate reviewers regarding the application of the ADA to testing
                accommodations analysis generally, and with respect to learning and
                attention disabilities specifically;
              o to provide reviewers with standards for evaluating requests for testing
                accommodations;

              o to instruct reviewers on what information shall be contained in their
                written recommendations, where applicable.

       • LSAC shall keep internal data on: (1) the frequency with which the Manager of
         Accommodated Testing reverses the recommendations of the first-­‐level
         reviewer, and (2) the frequency with which the Manager of Accommodated
         Testing’s final decision is reversed by the outside consultants during the
         consideration or appeals process. If any of the reports required by paragraph
         23 of the Consent Decree demonstrate that the rate of reversal exceeds 25%
         during any testing cycle, then the relevant staff member shall receive
         additional training. The purpose of this training would be to provide
         constructive feedback to prospectively lower the reversal rate in the future.
         The nature and timing of that training will be determined by DOJ, in
         consultation with DFEH, on a case-­‐by-­‐case basis depending on the reasons for
         the reversals.




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